                          Case 2:18-cr-00422-DJH Document 775-1 Filed 10/18/19 Page 1 of 3
                             Case 2:18-mb-09126-ESW Document6 Filed 04/16118 Page 1 of

  AO 93 (Rev. 11/13)Search snd Seizure Warrant
                                                             A -
                                                             .




                         . .v.71            UNITED STATES DISTRICT COURT
                                                                          for the
       SEALMj                                                      District of Arizona

                   In the Matter of the Search of                           )
             (Briefly describe the properly to be searched                  )
              or identify the person by name and address)                           Case No.     \ % —()
                                                                                                       - k k ')...te 1-A
                                                                            )
        3300 E. Stella Lane, Paradise Valley, Arizona 85253                 )
                                                                            )
                                                                            )
                                                 SEARCH AND SEIZURE WARRANT
 To:       Any authorized law enforcement officer
       • An application by a federal law enforcement officer or an attorney for the government requests the seamh
 of the following person or property located in the                            District of                Arizona
(identO the person or describe the property to be marched and give its location):
      As described in Attachment A.




         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the p rson or property
 described above,and that such search will reveal(idento theperson or describe the property to be seized):
     As described in Attachment B.




           YOU ARE COMMANDED to execute this warrant on or before             014 - vtl-                (not t exceed 14 days)
           in the daytime 6:00 a.m. to 10:00 p.m. 0at any time in the day or night because good cause has bee established.

         Unless delayed notice is authorized below, you must give a copy ofthe warrant and a receipt for the pr arty taken to the
 person from whom, or from whose premises,the property was taken, or leave the copy and receipt at the place • here the
 property was taken.
         The officer executing this warrant,or an officer present during the execution ofthe warrant, must prcpa a an inventory
 as required by law and ropptly return this warrant and inventory to

     0 Pursuant to 18 U.S.C. § 3103a(b),I find that immediate notification may have an adverse result listed i 18 U.S.C.
  2705(except for delay of trial), and authorize the officer executing this warrant to delay notice to the person ho,or whose
 property, will be searched or seized (check the appropriate box)
      O for         days (not to exceed 30) 0 until, the facts justifying, the later s•ecifc date


 Date and time issued:
                                                                                                           Judge's signature

 City and state:            Phoenix, Arizona                                                   U.S. Magistrate Judge Eileen S. Willett
                                                                                                         Printed name and title
      Case 2:18-cr-00422-DJH Document 775-1 Filed 10/18/19 Page 2 of 3

       Case 2:18-mb-09126-ESW Document 6 Filed 04116/18 Page 2 of




                           Attachment A-1

                                    4.4"4
                                    • •   -




      3300 East Stella Lane, Paradise Valley, Arizona 85253




The residence of Michael Lacey.

The location to be searched is described as a multi structur
single family residence located in Paradise Valley, Arizona.
The address is 3300 East Stella Lane, Paradise Valley, Arizo a
85253.  The residence is located in a small gated community nd
has a gate across the driveway. The number 3300 is located
the mailbox located in front of the residence, near the road
The front of the residence is covered in desert foilage.
          Case 2:18-cr-00422-DJH Document 775-1 Filed 10/18/19 Page 3 of 3

            Case 2:18-mb-09126:ESW Document 6 Filed 04/16/18 Page 3 of




                                             Attachment 8
                                          items To Be Seized
For the time period of January 1,2010 through the present:
   1, Evidence of wealth, assets, and real estate obtained from the illicit activity to include; n i tes,
        correspondence, and news articles related to prostitution,sex trafficking and/or Backpage and .
        related entities.
    2. Documentation of any funds received from Backpage or other related companies and
        disposition of those funds.
   3. Records of assets held domestically and outside the United States,
   4. Records of International travel to include U.S. or Foreign Pasports.
   5. Records of domeitic travel expenditures to include travel tickets, hotel bills, copies of re eipts,
        credit card statements,comprising evidence of expenditures during the money launder' g
       scheme.
   6. Records and correspondence regarding assets, including insurance policies, loan docume ts,
        and personal financlarstatements.
   7. Records reflecting the acquisition or disposition of any residence, real property, vehicle, r other
       valuable asset.
   8. Documents reflecting tangible personal expenditures and personal investments, real estate
       transactions, and property purchases.
   9. Safe deposit box keys,storage locker keys and documents Indicating the rental or owner hip of.
      'such units.
   10; United States or Foreign currency over $5,000 USD.
   11. Documents containing Identification or association with any trusts, trust agreements, ba k
       accounts,deeds,or any documents associated with trusts, trustee information,transfer •f
       trusts, or any assets associated with trusts(including transfer of those assets) and email
       correspondence.
   12. Any property or proceed resulting from money laundering or international money launde ring
       scheme to include computers, currencies, coins, precious metals, artwork,jewelry, home
       furnishings and vehicles.
   13. Documents containing identification or association with the acquisition or disposition of
       cryptocurrencies (digital currencies), to include currency exchange Information, digital w•Ilet
       information (access codes), private address Information (private key information), and di ital
       currency statement or account ledgers. Digital currency is generally stored in digital "wal ets,"
       which essentially store the access codes that allows individuals to conduct digital currency
       transactions. To access digital currency, an individual must use a public address(or Ipubil key")
       and a private address(or "private key"). The public address can be analogized to a bank account
       number, while the private key is like a password used to access an online account.
Electronic Data
The above described records may be stored on magnetic or electronic media including hard drive,
portable devices such as thumb drives or any other media capable of storing information in a form
readable by a computer, These records may also be stored on removable media digitally archived on
external hard drives, CDs, DVDs,digital tape, and other forms of backup media.
